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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA



            v.                                     DECISION AND ORDER
                                                       10-CR–360-A

TERRY STEWART, et al.

                            Defendants.


      This case was referred to Magistrate Judge Jeremiah J. McCarthy for

supervision of all pre-trial proceedings. Magistrate Judge McCarthy previously

issued multiple Report and Recommendations and Decision and Orders in this

matter. In a prior Report and Recommendation, Magistrate Judge McCarthy

recommended granting defendants’ motion to dismiss the First Racketeering Act

of Count 1 of the Indictment and Count 6 of the Indictment on the grounds that

the allegations contained in both were unconstitutionally vague. (Dkt. No. 308)

This Court issued a Decision and Order adopting that recommendation. (Dkt. No.

352) On November 26, 2013, the Government filed a Fourth Superseding

Indictment which contained amendments to Racketeering Acts 1-8 of Count 1 as

well as amendments to Counts 6-13 (Transportation of Stolen Merchandise in

Interstate or Foreign Commerce). (Dkt. No 357)

      Defendants Terry Stewart and Rico Vendetti then filed motions seeking

partial dismissal of the Fourth Superseding Indictment. (Dkt. Nos. 364 and 365)
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Specifically, they moved to dismiss Racketeering Acts 1-8 and Counts 6-13 as

vague and duplicitous and Count 1 for failure to sufficiently allege a criminal

enterprise. On March 6, 2014, Magistrate Judge McCarthy issued a Report and

Recommendation recommending denial of defendants’ partial motion to dismiss

the Fourth Superseding Indictment. (Dkt. No. 375)

      Defendant Stewart filed objections to the Magistrate Judge’s Report and

Recommendation. (Dkt. No. 377) The Government filed a response, (Dkt. 378),

and defendant submitted a reply, (Dkt. No. 380). Oral argument on the objections

was held on May 1, 2014. Following oral argument, the parties were given time

to submit additional briefing. The Court considered the matter submitted on May

16, 2014.

      Pursuant to 28 U.S.C.§636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendation to which

objections have been made. Upon de novo review and after reviewing the

submissions of the parties and hearing oral argument, the Court adopts the

proposed findings of the Report and Recommendation.

      Accordingly, for the reasons set forth in Magistrate Judge McCarthy’s

Report and Recommendation, defendants’ motion for partial dismissal of the

Fourth Superseding Indictment is denied. In addition, defendant Stewart’s

request for a pretrial ruling that any attempt by the Government to offer additional

transactions to the jury before the dates set forth in the Racketeering Acts of the

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Fourth Superseding Indictment would be an impermissible constructive

amendment is denied without prejudice at this time.

      The parties shall appear before the Court on June 19, 2014 at 2:00 p.m. for

a status conference/meeting to set a trial date.



      SO ORDERED.


                                       ____Richard J. Arcara____________
                                       HONORABLE RICHARD J. ARCARA
                                       UNITED STATES DISTRICT COURT

Dated: June 18, 2014




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